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                    1   COOLEY LLP                                  AARON GREENSPAN
                        JOHN C. DWYER (136533)                      (aaron.greenspan@plainsite.org)
                    2   (dwyerjc@cooley.com)                        956 Carolina Street
                        3175 Hanover Street                         San Francisco, CA 94107-3337
                    3   Palo Alto, CA 94304-1130                    Telephone:    (415) 670-9350
                        Telephone:    (650) 843-5000                Facsimile:    (415) 373-3959
                    4   Facsimile:    (650) 849-7400
                                                                    Plaintiff Pro Se
                    5   AARTI REDDY (274889)
                        (areddy@cooley.com)                         KRONENBERGER ROSENFELD, LLP
                    6   REECE TREVOR (316685)                       KARL S. KRONENBERGER (226112)
                        (rtrevor@cooley.com)                        (karl@KRInternetLaw.com)
                    7   3 Embarcadero Center, 20th Floor            JEFFREY M. ROSENFELD (222187)
                        San Francisco, CA 94111-4004                (jeff@KRInternetLaw.com)
                    8   Telephone:    (415) 693-2000                150 Post Street, Suite 520
                        Facsimile:    (415) 693-2222                San Francisco, CA 94108
                    9                                               Telephone:     (415) 955-1155
                        Attorneys for Defendants                    Facsimile:     (415) 955-1158
                   10   TESLA, INC. and ELON MUSK
                                                                    Attorneys for Defendants
                   11                                               OMAR QAZI and SMICK ENTERPRISES,
                                                                    INC.
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                   13
                                                      UNITED STATES DISTRICT COURT
                   14
                                                 NORTHERN DISTRICT OF CALIFORNIA
                   15
                                                         SAN FRANCISCO DIVISION
                   16

                   17
                        AARON GREENSPAN,                              Case No. 3:20-cv-03426-JD
                   18
                                         Plaintiff,                   STIPULATED REQUEST AND [PROPOSED]
                   19                                                 ORDER TO SET SCHEDULE FOR BRIEFING
                               v.                                     ON DEFENDANTS’ MOTIONS TO DISMISS
                   20                                                 FOURTH AMENDED COMPLAINT
                        OMAR QAZI, SMICK ENTERPRISES, INC.,
                   21   ELON MUSK, and TESLA, INC.,                   (CIV. L. R. 6-2, 7-12)

                   22                    Defendants.

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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                              STIPULATED REQUEST AND
                                                                                   [PROPOSED] ORDER RE 4AC BRIEFING
                                                                                          CASE NO. 3:20-CV-03426-JD
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                    1          Pursuant to Civil Local Rules 6-2 and 7-12, Defendants Elon Musk and Tesla, Inc. (together

                    2   “Tesla Defendants”) and Omar Qazi and Smick Enterprises, Inc. (together “Qazi Defendants”), by

                    3   and through their respective attorneys, and Plaintiff Aaron Greenspan (“Plaintiff,” and together

                    4   with the Tesla Defendants and Qazi Defendants, the “Parties”) hereby stipulate to setting a briefing

                    5   schedule for the Tesla Defendants’ and Qazi Defendants’ anticipated motions to dismiss Plaintiff’s

                    6   Fourth Amended Complaint (“4AC”). This stipulation is based on the accompanying declaration

                    7   of Aarti Reddy, filed concurrently herewith.

                    8          WHEREAS, on August 13, 2021, Plaintiff filed the 4AC in this matter, see ECF No. 131;

                    9          WHEREAS, counsel for the Tesla Defendants are currently scheduled to participate in a

                   10   trial in a different matter between September 20, 2021 and at least October 25, 2021;

                   11          WHEREAS, the Court ordered the parties to jointly propose a briefing schedule for any

                   12   motions to dismiss the 4AC, with such motions to be due not before November 1, 2021, in light of

                   13   counsel’s trial schedule, see ECF No. 128;

                   14          WHEREAS, under Civil Local Rule 6-1(b), a Court order is required for any enlargement

                   15   or shortening of time that alters an event or deadline already fixed by Court order or that involves

                   16   papers required to be filed or lodged with the Court;

                   17          WHEREAS, under Civil Local Rule 6-2, parties may file a stipulation complying with Civil

                   18   Local Rule 7-12 to enlarge or shorten time; and

                   19          WHEREAS, the Parties have conferred and agree that the schedule proposed below is

                   20   appropriate;

                   21          NOW THEREFORE, pursuant to Civil Local Rules 6-2 and 7-12, the Parties jointly

                   22   stipulate and respectfully request that the Court enter an order that any motions to dismiss the 4AC

                   23   shall be due on November 11, 2021; Plaintiff’s oppositions to any such motions shall be due on

                   24   December 9, 2021; and the Tesla Defendants’ and Qazi Defendants’ replies shall be due on

                   25   December 23, 2021.

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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                                    STIPULATED REQUEST AND
                                                                          1              [PROPOSED] ORDER RE 4AC BRIEFING
                                                                                                CASE NO. 3:20-CV-03426-JD
                           Case 3:20-cv-03426-JD Document 133 Filed 08/26/21 Page 3 of 4



                    1                                                         Respectfully submitted,

                    2

                    3   Dated: August 24, 2021                                COOLEY LLP

                    4

                    5                                                         By: /s/ Aarti Reddy
                                                                                  Aarti Reddy (274889)
                    6
                                                                              Attorneys for Defendants
                    7                                                         TESLA, INC. and ELON MUSK
                    8

                    9   Dated: August 24, 2021                                By: /s/ Aaron Greenspan
                                                                                  Aaron Greenspan
                   10
                                                                              Plaintiff Pro Se
                   11

                   12

                   13   Dated: August 24, 2021                             KRONENBERGER ROSENFELD, LLP
                   14

                   15                                                         By: /s/ Karl S. Kronenberger
                                                                                  Karl S. Kronenberger (226112)
                   16
                                                                              Attorneys for Defendants
                   17                                                         OMAR QAZI and SMICK ENTERPRISES,
                                                                              INC.
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                   21                                 ATTESTATION OF SIGNATURES
                   22          Pursuant to Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this
                   23   document has been obtained from each of the other signatories.
                   24
                        Dated: August 24, 2021                                 /s/ Aarti Reddy
                   25
                                                                              Aarti Reddy
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                                       STIPULATED REQUEST AND
                                                                          2                 [PROPOSED] ORDER RE 4AC BRIEFING
                                                                                                   CASE NO. 3:20-CV-03426-JD
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                    1
                        PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                    3
                        Dated: August 26, 2021
                    4                                           Hon. James Donato
                                                                United States District Judge
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COOLEY LLP
ATTORNEYS AT LAW
 SAN FRANCISCO                                                                         STIPULATED REQUEST AND
                                                               3              [PROPOSED] ORDER RE 4AC BRIEFING
                                                                                     CASE NO. 3:20-CV-03426-JD
